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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                       POR THE WESTERN DISTRICT OF TEXAS
                                                       AUSTIN DIVISION


            IN RE:                                           §
                                                             §       CASE NO. 18-11043.TMD
            SELENAD.CASH                                     §
                                                             §            CHAPTER 7
                   Debtor                                    §
            j. PATRICKLOWE, Chapter 7 Trustee, §
            and SELENA D. CASH, deceased,      §
            by and through ARLETHA CASH,       §
            Independent Administrator,         §
                                               §
                  Plaintiffs,                  §
                                               §
            V,                                 §                          ADVERSARY CASE
                                               §
            ANTHONY L. SHERTOAN,               §
            WILLIAM SHERIDAN,                  §                            NO. 19-1064-TMD
            LINDA SHERIDAN,                    §
            CEAIRA c. SHERIDAN,                §
            LM RIVERS, JR,                     §
            LJA VENTURES, INC                  §
            AUDIT GUARD, INC.,                 §
            MONEYPUND, INC                     §
            FDR MANAGEMENT GROUP, INC          §
            JOHNNIE R. TYLER, JR.              §
            ROBERT TURNER,                     §
            and CCS ASSET MANAGEMENT, INC٠,§
                                               §
                     Defendants.


                                            DECLARATION OF A. JO BAYLOR


                  I, A. Jo Baylor, pursuant to 28 U.S.C. § 1746, declare under penalty of penury under the
            laws of the United States of America that the foregoing is true and correct to the best of my
            knowledge:

                    1     I have personal knowledge of each of he facts set forth herein and, if called as a
            witness, would testify on the matters addressed in this declaration as set forth herein.

                     2       This Declaration is submitted ‫ ئ‬connection wifo and in support of the Plaintiffs’
            Original Complaint for Declaratory Judgment, Damages & Injunctive Rehef (the “Complaint”!.
            In particular, this Declaration is focused upon the Plaintiffs’ current request for injunctive relief,
            including a temporary restraining order (a “TRO”) and a preliminary injunction. The Declaration,


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         therefore, is organized to address the following factors: (A) a substantial likelihood of Plaintiffs’
         success on the merits, (B) a substantial foreat of irreparable injury to Plaintiffs if the injunction is
         not issued, (c) that the threatened injury to Plaintiffs if the injunction is denied outweighs any
         harm that will result to Defendants if the injunction is granted, and (D) that the grant of an
         injunction will serve the public interest. I understand that a separate declaration ffom Kell Mercer
         is also being provided which includes documentation produced by and testimony given by
         Anthony L. Sheridan ("Sheridan”).

            A. There is a Substantial Likelihood of Plaintiffs’ Success on the Merits


                 3      Fimdamentally, this lawsuit seeks to reverse the actions of Sheridan, William
         Sheridan, and LM Rivers, Jr., and then co-conspirators, in stealing my mother’s coloration, 4709,
         Incoiporated, d/b/a Midtown Live (“4709”) and then transferring the busfoess personal property
         assets of 4709 to corporations owned and/or controlled by these Defendants. As reflected by the
         documents attached hereto as well as the documents and testimony attached to the Declaration of
         Kell Mercer, the acts and conduct of Sheridan, William Sheridan, and LM Rivers, Jr., and their
         co-conspirators, are imquestionably illegal and unsupportable under any legal theory. None of
         these actions were authorized to occur by my mother, the Debtor, Selena D. Cash, who I will refer
         to hereafter in this Declaration as “Mrs. Cash.” I realize that the “Mrs.” reference may be seen as
         antiquated, but I know that it is the manner ‫ ئ‬which my mother would have wanted to be
         addressed, so I shall carry forward her wishes here outofrespect. All of hese actions were contrary
         to the MFS Agreement that was made with my mother by Sheridan, LM Rivers, Jr., and John
         Hobeman.


                4.      As is clear ftom the documents and testimony attached to the Declaration of Kell
         Mercer, tiie Defendants engaged in the following improper and actionable conduct:

                (a) Defendants induced Mrs. Cash to enter into the MFS Agreement to address and
                    restructtrre the debt of 4709. Pursuant to the MFS Agreement, the business of 4709
                    would be separated and placed into ๒ entities: one entity to hold the Cameron Road
                    Property, and one entity to own and operate Midtown Live. A foird entity, a trust to
                    hold Mrs. Cash’s equity in each corporation, was also to be created. L.M. Rivers was
                    to serve as the taistee of this trust for my mofoer’s benefit.

                (b) Mrs. Cash was informed by LM Rivers, Jr. that pursuant to the executive summaty he
                    would act as a member of the “Executive Control Board” and her trustee pursuant to a
                    trust to be set up to hold her equity interest ‫ ئ‬an entity to hold the Cameron Road
                    Property and an entity to hold Midtown Live as per the proposal. Mrs. Cash was forther
                    inforjned by LM Rivers, Jr. that he would sit on the “Executive Conttol Board” of4709
                     and look after her interests as a tnistee.


                (c) In reliance upon the MES Agreement, Mrs. Cash executed the Cameron Road Deed,
                    conveying the Cameron Road Propejty to CCS Asset Management, Inc. Mrs. Cash did
                     not understand at the time she executed the Cameron Road Deed that neither she nor a
                     trust created for her benefit would own any of the busfoess assets of4709 forough CCS
                     Asset Management, Inc. or any other entity.


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                     (d) No^ithstanding this material change to the MFS Agreement, which material change
                         was never agreed upon or understood by Mrs. Cash, in exchange for the Cameron Road
                         Deed, CCS Asset Management, Inc. obligated itself to pay to 4709 the sum of
                         $1,700,000. CCS Asset Management, Inc.’s obligation was secured in the Cameron
                         Road Deed under a “vendor's lien." The “vendor's lien” language identified a
                         promissoty note pu^ortedly executed by CCS Asset Management, Inc. and in favor of
                         4709 ‫ ئ‬the amount of $1,700,000. However, as Sheridan later revealed, this note was
                         never drafted and did not exist at the time Sheridan asked Mrs. Cash to execute the
                         Cameron Road Deed on behalf of 4709. The note was just another part of a sham
                         ftansaction. Defendant Sheridan also presented Mrs. Cash a Title Insurance
                         Commitment ftom Stewart Title, File No. 159640, wherein he identified that the
                         proposed insured under an Ovmer’s Policy of Title Insurance would be 4709 with a
                         policy amount of $1,700,000, intending for Mrs. Cash to believe that 4709 would be
                         insured by the title policy.

                     (e) Defendants ftirfoer induced Mrs. Cash to execute a limited Power of Attorney in favor
                         of Sheridan to take certain acts solely on behalf of 4709. The Power of Attorney was
                         not an authorization to act on behalf of Mrs. Cash individually.

                     (f) Pm^ortedly utilizing foe limited Power of Attorney, but without acttral legal authority
                         or power to do so, Sheridan began to systematically take action on behalf of Mrs. Cash,
                         individually, to first appoint his co-conspirators to positions of conttol at 4709, and
                         then to acttrally ttansfer Mrs. Cash’s ownership interest ‫ ئ‬4709 first to himself, then to
                         LM Rivers, Jr., and, finally, to Wilham Sheridan.

                     (g) After illegally appointing his co-conspirators to positions of purported ownership and
                         management of 4709, At Sheridan's direction, CCS Asset Management, Inc. then
                         leased the Midtown Live location at the Cameron Road Property to his own entity, LJA
                         Ventiires, Inc. In filings with the Texas Alcohol and Beverage Commission, despite
                         having purportedly removed Mrs. Cash from all ownership and management positions
                         at 4709, despite having purportedly assigned all of the operations and assets to CCS
                         Asset Management, Inc., and despite CCS Asset Management, Inc. having purportedly
                         leased the operations of Midtown Live to LJA Venttires, Inc., Sheridan continued
                         through 2019 to identify 4709 as the permittee / operator and Mrs. Cash as the 100%
                         owner and person in conttol. LJA Ventures, Inc., entered into leases with CCS and
                         subleased property to other tenants, including a Sheridan family venture Southern Style
                         Foods, Inc. According to this lease. Southern Style Foods, Inc. is operating a restaurant
                         in the Midtown Live suite at the Cameron Road Property. Thus, Sheridan has diverted
                         operating revenue from the restaurant from 4709, Trustee Lowe, and Mrs. Cash.

                     (h) With all of these steps completed, Sheridan and his co-conspirators through a cotyorate
                         resolution dated October 20, 2018 then cancelled and released the $1,700,000 owed by
                         CCS Asset Management, Inc. to 4709. He then tivice recorded the release at foe Travis
                         County Clerk’s office on October 29, 2018 and November 13, 2018 . Thus, the theft
                         and conversion was complete.


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                (i) Sheridan’s release of the $1,700,000 obligation of CCS Asset Management, Inc. to
                    4709 under the Cameron Road Deed occurred in spite of the fact that Sheridan's
                    attorney, Darwhi McKee, was notified that the limited Power of Attorney had been
                    formally terminated on October 12, 2018. My attorney, Brian Walters, delivered my
                    mother’s notice of termination to Mr. McKee as well as documents revoking the !United
                    Power of Attorney and documenting my mother’s understanding that she was the sole
                    officer, director, and shareholder of 4709 in the fom of colorate minutes.

                ‫ )ن‬Mrs. Cash did not authorize or approve the shareholder or board resolutions attached
                   to the Complaint as Exhibits "G” through “Q.” Mrs. Cash did not authorize or approve
                   the releases of the lien attached to the Complaint as Exhibits “R” and “S.”

                (k) At all relevant times, havUig undertaken positions of trust and express positions of
                    agency. Defendants Sheridan and LM Rivers, Jr. owed fiduciary duties to Mrs. Cash.
                    At all relevant times, having accepted positions of management of 4709, Defendants
                    Sheridan, LM Rivers, Jr., and William Sheridan owed fiduciary duties to and occupied
                    positions of tnist with regards to 4709 and my mother.

                (1) Mrs. Cash repeatedly requested that Anthony Sheridan and LM Rivers, Jr. provide her
                    with a status report on the actions they had agreed upon in MFS Agreement. Mrs. Cash
                    repeatedly requested that Sheridan and LM Rivers, Jr. provide her with a report on the
                    operations and fmancial condition of 4709 and the Cameron Road Prope^. Neither
                    Sheridan nor LM Rivers, Jr. ever provided any meaningfill infomation ‫ ئ‬response to
                    these requests. Instead, Sheridan and LM Rivers, Jr. concealed the ttue facts regarding
                    these matters from Trustee Lowe and Mrs. Cash. My mother never understood why she
                    did not receive these r^orts, as she believed the conspirators who stole her business
                    were simply working to rehabilitate it.

                (m)These actions are contraty to the a^eement contafeed ‫ ئ‬the MFS Agreement. These
                   actions are contt-ary to and in violation of the duties owed to Mrs. Cash by Sheridan,
                   LM Rivers, Jr., and William Sheridan. These actions are outrageous, repugnant, and
                   cannot be supported under any facttral or legal basis that could ever be advanced by the
                     Defendants.


            B. A Substantiầ Threat of Irreparable Injury to Plaintiffs Exists If the Requested
               Injunction is not Issued

                5,       The injunctive relief requested by Plaintiffs include: (1) entty of a Temporary
         Resttaining Order enjoining Defendants, their respective agents, attorneys, and representatives of
         every type, from taking any fiirther action on behalf of and/or ‫ ئ‬the name of4709, Midtown Live,
         and/or Selena D. Cash, absent specific approval by the Bankmptcy Court; (2) after notice and
         hearing, entry of a Prelimina^ Injunction until the time of trial enjoining Defendants, their
         respective officers, directors, shareholders, managers, members, agents, attorneys, employees,
         contractors, and representatives of every type, from taking any fiirther action on behalf of and/or
         in the name of 4709, Midtown Live, and/or Selena D. Cash, absent specific approval by the


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            Bankruptcy Court3)   ‫ ) ؛‬after notice and hearing, en^ of a mandatory Prelimina^ Injunction until
            the time of trial, appohiting a neutral, third-party operator to manage and control the business and
            affairs of 4709 and Midtown Live4)    ‫ ) ؛‬after notice and hearing, en^ of a Preliminary Injunction
            until the time of trial enjoining all Defendants, their respective agents, attorneys, and
            representatives of evety type, from transferring, assigning, encumbering, and/or disfributing from
            the Cameron Road Property or its rents, profits, and proceeds, absent specific approval by the
            Bankniptcy Court; and (5) after notice and hearing, entry of a mandatory Preliminaty Injunction
            until the time of trial, appointing a neutral, third-party operator to manage and confrol the business
            and affairs of the Cameron Road Prope^.

                    6.     As is clear from he documentation attached to the Declaration of Kell Mercer,
            Defendants Sheridan and his co-conspirators have a proven frack record of committing fraud,
            acting contrary to written agreements, acting beyond granted authority, and breaching fiduciary
            duties. My mother, who frusted these individuals, was simply the next target on their list.

                     7.     The acts and conduct of Defendants Sheridan and his co-conspirators also
            demonstrate that they lack the basic competency necessary to lawfillly run a business. Highhghting
            feese concerns is the manner ‫ ئ‬which Sheridan and his co-conspirators have dealt with the
            operation of Midtown Live. Also at issue, here is he pu^orted disposition by 4709 of the
            Midtown Live business personal property and operational assets to CCS Asset Management, Inc.
            A review of the Cameron Road Deed makes clear that 4709 never frnsferred its business personal
            property to CCS Asset Management, Inc. The Cameron Road Deed only covers fee real property
            that is fee Cameron Road Property located at 7400 / 7408 Cameron Road in Austin, Texas. Yet
            Defendant Sheridan now takes the position that all of fee business personal property of 4709 was
            ttansferred to CCS Asset Management, Inc. utilizing fee Cameron Road Deed. There is no bill of
            sale or asset purchase agreement betiveen 4709 and CCS Asset Management, Inc. Any reasonably
            competent businessperson or real estate broker would know that a purchase of business personal
            property assets is not accomplished ferough a real property deed.

                    8        A recent email thread beleen Defendant Sheridan and staff at fee Travis Central
            Appraisal District (“TCAD”), attached hereto as Exhibit 1■ perfectly dlusfrates Sheridan’s
            continued fraudulent activity and fimdamental misunderstanding of basic legal and business
            concepts. Attached hereto is that exchange between TCAD and Sheridan beginnfeg on June 12,
            2019. Sheridan,‫ ئ‬his email communications with TCAD, attempts to fransfer ownership sfetus of
            the business personal property of4709 to CCS Asset Management, Inc. Sheridan claims that CCS
            Asset Management, Inc. has owned the property since February 9, 2018. TCAD responds by
            stating "you will need to file a protest in wring and provide the sales contract for the fixed
            asset/inventory of the business.” In response, Sheridan sent TCAD the Cameron Road Deed as
            proof of ownership. TCAD correctly responded by stating “I don’t see anything in the warranty
            deed that would include the business personal property fixed assets. It covers land and
            improvements (building).” TCAD also stated that “the TABC pemit is still active under 4709,
            Inc. and I didn’t’ fmd a TABC or sales tax permit for CCS Asset Management, Inc. The business
            cannot be operated without those pemits.” In the email thread, TCAD asked Sheridan whether he
            is affiliated with CCS Asset Management, Inc. or 4709, Inc. Sheridan responds, “bofe.” Sheridan
            states feat “4709 is leasing the liquor license to LJA Ventiires.” Sheridan states that “the previous
            owner filed bankruptcy and she declared complete sale of all property real and personal under


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            oath.'    I believe the statement regarding mv mother’s puroorted statement “under oath” is a
            complete lie. As of June 1,2019 Sheridan had been deposed and informed of Mrs. Cash’s position
            that all of his actions with respect to 4709 were without right or authority. Nonetheless, in the
            deposition I learned of a lease agreement between CCS Asset Management, Inc. and LJA Ventures,
            Inc. (owned and conriolled by Sheridan and his family members), through which the Midtown
            Live restaurant and club is now behig operated by LJA Venhires, Inc. Plaintiffs have come to learn
            that Sheridan continues to report to the TABC that Midtown Live is owned and operated by 4709
            and that Mrs. Cash is the 100% owner of 4709. This creates substantial risk of liability to Mrs.
            Cash’s bankruptcy and probate estates including, but not limited to, civil liability under Texas
            dram shop laws as well as adnUnistotive/regulatoty penalties and sanctions. Further, Mrs. Cash’s
            bankruptcy schedules make clear that she continued to claim 100% ownership of 4709 and
            Midtown Live. There is no lease of the TABC permit beriveen 4709 and LJA Ventures, Inc. Even
            if there were, Sheridan allowed LJA Ventares, Inc. to forfeit its coi^orate existence in January of
            2019. It was not reinstated until April of 2019. Finally, this all makes an invalid assumption that a
            TABC pennit holder could legally “lease” an mixed beverage and late night permit to a dlird party.
            Based on my experience as a club owner, such an arrangement would be prohibited by TABC rules
            and regulations.

                    9.      Sheridan's assertion in his email exchange with TCAD that it is "assumed" that
            business personal prope^ goes with tae real estate if not expressed in writing is ludicrous and not
            common practice ‫ ئ‬Travis County or elsewhere. Even the Cameron Road Property si^ is not
            included with the sale of tae real estate. No assignment or assumption of leases, FF&E notes was
            executed, no goodwill allocation, nor assignment of tenant security deposits, branded names -
            Midtown use of name or Logos, assignable use, zoning, building and operating licenses and
            permits or warranties was granted. Mrs. Cash’s accountants would have insisted on a value
            allocated to the bustaess personal property so that any loss or gain would be assigned to her income
            as a shareholder. The alleged stock riansfer also has potential negative ramifications for Mrs. Cash
            depending on her basis. Mrs. Cash was never given the opportanity to make a decision on how to
            staucture the sale of her business if that is what she wanted to reduce taxes or potential liabilities.
            Instead, Sheridan may have incurred tiansactional, legal, and tax liabilities for Sheridan with his
            false 4709 cotyorate resolutions and the self dealing releases of tae lien of over $1,700,000 since
            no interest was paid, which only served to benefit Sheridan, his co-conspirators, and his businesses.

                     10.    Sheridan’s willingness to make such false statements to tae TABC and TCAD are
            truly shocking. They demonstiate his complete incompetence to run the affairs of 4709, the
            Cameron Road Property, and Midtown Live. Sheridan’s incompetence is fiirther illustrated by the
            recent Chapter 11 filing he attempted for 4709 which, in my opinion, was a sham filing designed
            to do little more than buy taese conspirators time to plot and scheme. Furthermore, Sheridan has
            failed to file tax retams for 4709 on my mother’s behalf or to provide her with sufficient
            infomation to file her individual tax returns for 2017 and 2018. Even taough I have requested
            infomation fiom Sheridan regarding the insurance on 4709, Sheridan has provided nothing to
             date.


                    11.   I believe taat since putyortedly seiztag control of Midtown Live ‫ ئ‬tae spring of
             2018, Anthony Sheridan, William Sheridan, LM Rivers, Jr., and others have .ossly mismanaged
             Midtown Live and tae Cameron Road Property. I believe taat Anthony Sheridan, William


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        Sheridan, LM Rivers, Jr., and others have taken over bank accounts belonging to 4709 wi*out
        right or authority. Anthony Sheridan, William Sheridan, LM Rivers, Jr., and odiers have refosed
        to provide any financial or operational information requested by Mrs. Cash or Lowe. I am also
        alarmed by the fact that the attorneys who Sheridan brought in to represent my mother were
        acttrally working wi and representhig Sheridan, and continued to do so up to and hicluding the
        time when Sheridan was deposed, unbeknownst to my mother.

                12.    I believe that Midtovm Live has been and continues to be out of compliance with
        TABC regulations and the stattites governing the sale of alcoholic beverages ‫ ئ‬Texas. I believe
        that Anthony Sheridan, William Sheridan, and LM Rivers, Jr. have filed or allowed to be filed
        false statements with TABC, placing the entire operation of the Midtown Live club at risk.

                13.      I believe that Anthony Sheridan, William Sheridan, and LM Rivers, Jr. have
         mishandled the payment of wages to and taxes for the staff of Midtown Live, placing Midtown
         Live at risk of behig assessed fines and penalties, and/or being levied upon and/or shut doi by
         the IRS, the United States Departoent of Labor, and/or the Texas Workforce Commission.

                14.    I believe that, despite paying nothing to 4709 fo r the assignment of the Cameron
         Road Property, and despite not being set up ‫ ئ‬compliance with foe terms of the MFS Agreement,
         CCS continues to collect rents from the tenants of the Cameron Road Property. No rents have been
         paid to Mrs. Cash or to Lowe. I believe that CCS has entered into new leases wifo tenants at the
         Cameron Road Prope^ without my mother or Lowe’s permission.

                15.      I believe that Authony Sheridan, acting *rough CCS Asset Management, Inc.,
         Aufot Guard, Inc., and others, and Anthony Sheridan and LM Rivers, Jr., acting through LJA,
         receives foe rents and benefits from Cameron Road Property without an accounting to Lowe, Mrs.
         Cash, and/or 4709.1 believe that Anthony Sheridan and FDR Management Group Inc. d/b/a The
         FDR Group has served as a broker ‫ ئ‬connection with leases entered into by CCS Asset
         Management, Inc. and sub-leases entered into by LJA Ventures, Inc. I believe that Anthony
         Sheridan has received commissions from such leases forough the FDR Group or other entities has
         personally benefited from such transactions. Anthony Sheridan and others have not accounted to
         Lowe, Mrs. Cash, and/or 4709 for these transactions by CCS Asset Management, Inc., Audit
         Guard, Inc., and Sheridan's other business entities.

                16.    I believe that LIA Venttrres, Inc., acting under the confrol of Anthony Sheridan and
         LM Rivers, Jr., has entered into an agreement wifo CCS As and 4709 pursuant to which LJA
         obtained the use and benefit of the business personal property, goodwill, and other assets of
         Midtown Live without any payment or accounting to Mrs. Cash and/or 4709.

                17.     I believe that CCS and/or LJA Ventures, Inc. have failed to timely pay real and/or
         busfoess personal property taxes for the Cameron Road Property and Midtovm Live, placing these
         assets at risk of seizure and/or foreclosure. I believe that CCS, acting under foe conttol of Anthony
         Sheridan has failed to properly review and challenge appraised values set by the Travis Central
         Appraisal District for the Cameron Road Property, subjecting the property to higher than
         appropriate taxes.




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                 18.    Al! of these actions place the bantoiptcy estate and my mother’s probate estate at
         substantial risk. I believe the Defendants lack basic insurance to cover these claims, and that 4709
         currently lacks even the most basic insurance coverages. In the absence of that coverage, I believe
         that Defendants have no ability to satisfy the claims that these actions risk, and that creditors will
         look to my mother’s estate for satisfaction of the debts and obligations focurred by tiiose who
         unlawfolly tiansferred away my mother and her business's assets when she was in a fingile state.

                 19.    The only way to prevent this damage is to immediately^ remove Defendants, their
         respective agents, attorneys, and r^resentatives of every type, from taking any forther action on
         behalf of and/or ‫ ئ‬the name of 4709, Midtown Live, and/or Selena D. Cash, absent specific
         approval by the Bankruptcy Court. In the longer tem, pending outcome of the litigation, the only
         way to prevent this imeparable damage is entty of a Preliminaty Injunction until the time of trial
         appofotfog a neutral, third-party operator to manage and control the business and affairs of 4709
         and Midtown Live and the Cameron Road Property.

             C. The Threatened Injury to Plaintiffs if the Injunction is Denied Outweighs any Harm
                that Will Result to Defendants if the Injunction is Granted

                20.     As noted above, the threatened injuty to Plaintiffs is severe. On the other hand, the
         Defendants are acting without any right or valid legal interest. An order from this Court putting a
         stop to the Defendants’ fraudulent and illegal operations and ceasing their misleading
         communications to third parties will not tnily harm the Defendants. It will only restore to my
         mother’s estate income and assets to which it is justly entitled and protect those assets throughout
         the pendency of this litigation.

             D. The Grant of an Injunction WÜ1 Serve the Public Interest

                21.     In
         the injunction will cease the false and illegal actions and communications of the Defendants in
         connection with the TABC and TCAD. Adult Protective Sebees probaras report that the number
         and complexity of financial abuse of older adults has increased significantly over the past decade.
         Recent research has found that elder financial exploitation by trusted people such as care٥vers,
         friends/acquaintances, and professionals is widespread, expensive, and even deadly. Sheridan and
         LM Rivers, Jr. were the "frustedprofessionals"who took advantage of my mother for years leading
         up to and including the 90* and final year of her life. Sheridan has posted tivo signs advertising
         his services to the general public at the Cameron Road Property. He is using stolen property to
         fi-eely advertise his fraudulent real estate brokerage and lending businesses to the general public.
         The rtaffic count on Cameron Road is believed to be in excess of 15,000 cars per day extending
         the reach of his fraudulent activities tiiroughout the commimity at large. The tenants at foe
         Cameron Road Property are paying under triple net leases. There is no evidence that he is
         segregating fonds to pay the taxes and other expenses for which he has received payment from the
         tenets. Undoubtedly, the public interest would be best served by removing the Defendants’
         control of 4709’s assets, focludfog the Cameron Road Property and Midtown Live.

                 Dated: October        2019
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                                                     D٠cuSI٩ned by:



                                                   A. Jo Baylor




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                                           EXHIBIT 1


                           ADDITIONAL REFERENCED DOCUMENTS


                                          ^See attachedA




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       Debbie Horn

       From:                                 Anthony Sheridan <a s@moneyfundonline.com>
       Sent                                  Thureday, June 13,2qi9 11;06 AM
       To:                                   Debbie Horn
       Subjeirt:                             RE: 4709INC Persona         Property ID:     824039


       I am affiliated wnth both. This mistake was overlooked and should have been updated In 2018.

       CCS bought property "AsIs"and real estate If it Is not e:(pressed Inwriting it is assumed that personal property goes with
       It sale.


       4709 IncIsleasingthe liquor license to UA Ventures.          ^
                                                                    r




       The previous ownerfiled bankruptcy and she declared complete sale of allpropertyreal and personal underoath.

       Make it a great day!
       Anthony Leo Sheridan BA, MBA
       Comm^vial Lotding Officer

       MoneyFund bic.
       Ill CongressAvmue,4thFloor
       Austin, TX 78701

       Office: 888-812-6255 Ext. 107
       Fax: 512-410-7342
       E-mail: als@monevfimdonline.com
       http://wwwjnonevfimdonIine.coni/


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       From: Debbie Horn [mallto:DHo(1i@bcadcentral.oFg]             ;
       Sent: Thursday^ Tune 13,201910:19 AM                          |
       To: 'aIs@monei^undoniIne.Gom'                                 '
       Subject: RE; 4709 INCPersonal Property ID: 824039

       Idon'tseeanything In thewrarranty deed thatwould Include the business personal property fixed assets - Itcovers land
       and lmpr(jvement (building). Maybe those assetsare Included In the Deed ofTrust?

       The tABC permit Is still active under4709 Inc andIdidn'tfind a TABC or sales taxpermit for CCS Asset Management
       Inc. The business cannot be operated without those permits.

       Are you affiliated with CCS Asset Management Incor 4'             09 Inc?


       Debbie Horn, RPA
       Travis Central Appraisal District
       PO Box 149012
       Austin TX 78714-9012
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                                        Jo Baylor Pg 12 of 24
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